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Attorneys for Plaintiff
                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA

Lynn Marie Cousino, and all similarly situated   :   Civil Action No.:
individuals,                                     :
                                                 :   COMPLAINT FOR DAMAGES PURSUANT
                          Plaintiffs,            :   TO THE FAIR CREDIT REPORTING ACT,
        v.                                       :   15 U.S.C. § 1681, ET SEQ. AND FOR RELIEF
                                                 :   UNDER THE DECLARATORY JUDGMENT
Whole Foods Market, Inc.,                        :   ACT, 15 U.S.C. § 2201, AND FOR DAMAGES
                                                 :   AND EQUITABLE RELIEF UNDER NEVADA
                          Defendant.             :   LAW
                                                 :
                                                 :   JURY TRIAL DEMANDED
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                               JURISDICTION AND VENUE
1.   This Court has federal question jurisdiction because this case arises out of violation of

     federal law, specifically the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681(x)

     (“FCRA”). 28 U.S.C. § 1331; Smith v. Community Lending, Inc., 773 F.Supp.2d 941,

     946 (D. Nev. 2011).

2.   This Court has supplemental jurisdiction to hear all state law claims under Nevada state

     law pursuant to 28 U.S.C. § 1367.

3.   This Court also has subject matter jurisdiction over this action under the Class Action

     Fairness Act, 28 U.S.C. § 1332(d)(2) because the amount in controversy exceeds $5

     million exclusive of interest and costs, there are more than 100 putative class members,

     and at least some members of the proposed Class have different citizenship than Whole

     Foods.

4.   Venue is proper in the United States District Court for the District of Nevada pursuant to

     28 U.S.C. § 1391(b) because Plaintiff is a resident of the County of Clark, State of

     Nevada and because Defendant is subject to personal jurisdiction in the County of Clark,

     State of Nevada as it conducts business there. Venue is also proper because, the conduct

     giving rise to this action occurred in Nevada. 28 U.S.C. § 1391(b)(2).

                                         PARTIES
5.   Plaintiff Lynn Marie Cousino (“Plaintiff”) is a natural person residing in the County of

     Clark, State of Nevada.

6.   Plaintiff and all putative Class members are “consumers” as that term is defined by 15


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         U.S.C. § 1681a(c). Additionally, Plaintiff and members of the Nevada Subclass are

         “persons” as used in NRS 598 and NRS 41.600.

7.       Defendant Whole Foods Market, Inc. (“Whole Foods”) is a corporation incorporated

         under the laws of Texas with its principal place of business in Austin, Texas. Whole

         Foods does business in the State of Nevada.

8.       Defendant Whole Foods regularly assembles and/or evaluates consumer credit

         information for the purpose of furnishing consumer reports to third parties, and uses

         interstate commerce to prepare and/or furnish the reports. Whole Foods is a “consumer

         reporting agency” as that term is defined by 15 U.S.C. § 1681a(f). Additionally, Whole

         Foods is a “person” as used in NRS 598 and NRS 41.600.

9.       Unless otherwise indicated, the use of Whole Foods’s name in this Complaint includes all

         agents, employees, officers, members, directors, heirs, successors, assigns, principals,

         trustees, sureties, subrogees, representatives, and insurers of Whole Foods.

                                   FACTUAL ALLEGATIONS

     Whole Foods Permits the PII of Numerous Consumers to Be Obtained by Identity Thieves

10.      Whole Foods is a national retailer of natural and organic foods, with approximately 470

         stores in North America and the United Kingdom. Certain Whole Foods locations also

         offer taprooms and restaurants. Whole Foods routinely processes consumer transactions

         at its checkout counters, taprooms, and restaurants through a point-of-sale (“POS”)

         systems which capture personally identifiable information, including names, credit card

         numbers, card expiration dates, and three-digit security codes located on the back of their
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          credit cards (collectively referred to as “PII”).

11.       On information and belief, Whole Foods uses different POS systems in its tap rooms and

          restaurants than it does at its checkout counters.

12.       Upon information and belief, when Whole Foods discovered this breach, it began

          conducting an internal investigation, as well as engaged third party forensic experts and

          law enforcement. As of the filing of this Complaint, that investigation remains ongoing.1

13.       The fact of the breach was discovered and reported by news organizations on September

          28, 2017.2

14.       For the Plaintiff, as with all potential Class members, these news stories were the first

          time that they had been informed by Whole Foods that their information secured by

          Whole Foods had been compromised.

15.       Between June through September 2017, Plaintiff purchased goods from a Whole Foods

          location in the Greater Las Vegas area, using a MasterCard or Visa. Whole Foods

          processed Plaintiff’s consumer transaction with its compromised POS system. Thus,

          Plaintiff either was or was highly likely to have been implicated in the data breach.

16.       As a result, Plaintiff may need to cancel the card she used to complete the transaction and

          request a new card – an action she would not have to take had her personal information

          not been likely compromised.


      1
       See Imani Moise, Whole Foods Discloses Data Breach, Fox Business, Sept. 28, 2017, available at:
http://www.foxbusiness.com/features/2017/09/28/whole-foods-discloses-data-breach.html.
    2
       See, e.g., Jackie Wattles, Whole Foods Customer Info Likely Targeted by Hackers, CNN, Sept. 27,
2017, available at: http://money.cnn.com/2017/09/27/technology/business/Whole Foods-data-
breach/index.html.
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17.   Plaintiff, individually and on behalf of those similarly situated, brings this action to

      challenge the actions of Whole Foods in the protection and safekeeping of the Plaintiff’s

      and Class members’ personal information.          Whole Foods’s failures to safeguard

      consumer PII has caused Plaintiff and Class members damages.

                         Whole Foods’s Conduct Violated the FCRA.

18.   The United States Congress enacted the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

      seq. (“FCRA”), to insure fair and accurate credit reporting, promote efficiency in the

      banking system, and, as most relevant to this Complaint, protect consumer privacy. The

      FCRA imposes duties on the CRA's to protect consumer's sensitive personal information.

19.   The FCRA protects consumers through a tightly wound set of procedural protections

      from the material risk of harms that otherwise follow from the compromise of a

      consumer's sensitive personal information.        Through these protections, Congress

      recognized a consumer's substantive right to protection from damage to reputation,

      shame, mortification, and emotional distress that naturally follows from the compromise

      of a person's identity.

20.   Central to the FCRA’s privacy protections are restrictions on consumer reporting agencies,

      or CRAs. A CRA is a person or entity “which, for monetary fees, dues, or on a cooperative

      nonprofit basis, regularly engages in whole or in part in the practice of assembling or

      evaluating consumer credit information or other information on consumers for the purpose

      of furnishing consumer reports to third parties, and which uses any means or facility of

      interstate commerce for the purpose of preparing or furnishing consumer reports.”
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21.   Whole Foods is a “consumer reporting agency” (“CRA”) within the cognizance of 15

      U.S.C. § 1681a(f) because it utilizes a point-of-sale system in which it obtains, evaluates,

      and/or assembles a consumer’s PII in commercial transactions, and directs that PII to be

      transmitted through a third party credit card processing company and, ultimately, to a

      financial institution, who then authorizes payment from a consumer’s account back to

      Whole Foods.

22.   A central duty that the FCRA imposes upon CRAs is the duty to protect the consumer’s

      privacy by guarding against inappropriate disclosure to third parties. 15 U.S.C. § 1681b

      codifies this duty, and permits a CRA to disclose a consumer’s information only for one

      of a handful of exclusively defined “permissible purposes.” To ensure compliance,

      CRAs must maintain reasonable procedures to ensure that such third party disclosures are

      made exclusively for permissible purposes. 15 U.S.C. § 1681e(a).

23.   The FCRA defines “consumer report” broadly, as “any written, oral, or other

      communication of any information by a CRA bearing on a consumer’s credit worthiness,

      credit standing, credit capacity, character, general reputation, personal characteristics, or

      mode of living which is used or expected to be used or collected in whole or in part for

      the purpose of serving as a factor in establishing the consumer’s eligibility for (A) credit

      or insurance to be used primarily for personal, family, or household purposes; (B)

      employment purposes; or (C) any other purpose authorized under section 1681b of this

      title.” 15 U.S.C. § 1681a(d). Under this broad definition, a consumer’s PII qualifies as a

      “consumer report.”
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24.       On information and belief Whole Foods accepts consumer payment for its goods via

          payment cards issued by members of the payment card industry (“PCI”), such as Visa

          and MasterCard.

25.       Some PCI members founded the PCI Security Standards Council, which developed a

          Data Security Standard (“DSS”) applicable to all merchants that store, process, or

          transmit cardholder data. In 2009 a Visa official remarked that, “no compromised entity

          has yet been found to be in compliance with PCI DSS at the time of a breach.”3

26.       PCI members that allow Whole Foods to process payments through their networks

          impose several requirements, including the requirement that Whole Foods fully comply

          with all of the DSS requirements and individual PCI members’ requirements as a

          condition of being able to process transactions through the PCI members’ networks.

27.       On information and belief, Whole Foods’s failure to protect consumer data from a data

          breach arose in part from its failure to follow the industry accepted PCI standards. Whole

          Foods’s actions in designing, implementing, and using the POS system were thus not

          commercially reasonable insofar as Whole Foods willfully, or at least negligently, failed

          to enact reasonable procedures to ensure that the consumer reports accessed through its

          POS system would only be accessed for a permissible purpose, when in fact they were

          accessed by data thieves.

28.       Defendant failed to properly safeguard the information of Plaintiff and Class members, as

      3
       Jaikumar Vijayan, Post-Breach Criticism of PCI Security Standard Misplaced, Via Exec Says,
Computerworld,              Mar.             19,           2009,              available        at:
https://www.computerworld.com/article/2531828/security0/post-breach-criticism-of-pci-security-
standard-misplaced--visa-exec-says.html.
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      required under 15 U.S.C. § 1681e(a).         Whole Foods failed to take the necessary

      precautions required to safeguard and protect Plaintiff and Class members’ PII from

      unauthorized disclosure, as their PII was improperly handled and stored. Therefore, on

      information and belief the PII of Plaintiff and Class members was accessed by data

      thieves and stolen.

             Whole Foods’s Conduct Also Violated NRS 598 and NRS 41.600.

29.   Between June through September 2017, Plaintiff purchased goods from a Whole Foods

      location in the Greater Las Vegas area, using a MasterCard or Visa. Whole Foods

      processed Plaintiff’s consumer transaction with its compromised POS system. Thus,

      Plaintiff either was or was highly likely to have been implicated in the data breach.

30.   Plaintiff and Class members paid Whole Foods not only for the goods purchased, but also

      for, inter alia, the protection of their PII. In so doing, they impliedly relied on Whole

      Foods’s promise to keep their PII safe from unauthorized disclosure.

31.   Had Plaintiff and Class members known of Whole Foods’s inability to adequately protect

      PII from unauthorized disclosure, they would have paid substantially less for Whole

      Foods’s goods, or would have likely “voted with their feet” by purchasing the same

      goods from another similar seller.

32.   However, because Whole Foods failed to protect Plaintiff and Class members’ PII, they

      did not receive the entirety of the goods they paid for, and correspondingly paid more

      than they would have otherwise for these goods.

33.   Thus, Whole Foods’s conduct also violated NRS 598.0917(7) because it constituted a
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      tender of “goods advertised for sale . . . or tendering terms of sale or lease less favorable

      than the terms advertised,” i.e., goods offered for sale by credit card without the

      corresponding promise that a consumer’s PII would be kept reasonably safe from harm.

34.   Additionally, NRS 598.0923(3) provides that a violation of any federal or Nevada law

      constitutes consumer fraud. Defendant’s violations of 15 U.S.C. § 1681e(a) and NRS

      598.0917(7), as outlined above, also “relat[ed] to the sale . . . of goods or services,” and

      thus violated NRS 598.0923(3).

35.   Whole Foods’s violations of NRS and 598.0923(3) and 598.0917(7) in turn constituted

      “consumer fraud” for purposes of NRS 41.600(2)(e).

              Whole Foods Breached the Duty of Care It Owed to Its Invitees

36.   Whole Foods, through its franchisees, routinely engages in commercial transactions in

      which members of the public, like Plaintiff and Class members, are invited to its business

      premises to purchase goods.

37.   Because Plaintiff and Class members were invitees of Whole Foods, Whole Foods owed

      them a duty of care to inspect for and discover unknown dangers, as well as to notify

      Plaintiff and Class members of the same.

38.   On information and belief, Whole Foods breached this duty by using a POS system

      which carried an unreasonable risk that consumer PII would be accessed and stolen, and

      this risk was never disclosed to Plaintiff and Class members.

      Harms Suffered by Plaintiff and Class Members as a Result of the Data Breach.

39.   By failing to establish reasonable procedures to safeguard individual consumer’s private
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      information, Whole Foods deprived consumers nationwide from a benefit conferred on

      them by Congress under 15 U.S.C. § 1681e(b), which, now lost, cannot be reclaimed.

      Similarly, Whole Foods deprived Nevada consumers of a benefit conferred on them by

      the Nevada legislature in NRS 598 and NRS 41.600, which has been irreparably lost.

40.   The harm to Plaintiff and Class members was complete at the time the unauthorized

      breaches occurred, as the unauthorized disclosure and dissemination of private credit

      information causes harm in and of itself.

41.   Moreover, there is a high likelihood that significant identity theft and fraud has not yet

      been discovered or reported, and that Plaintiff and Class members’ PII will be offered for

      sale or actually sold in “dark web” marketplaces. This will result in ongoing harm to

      Plaintiff and members of the Class as data thieves invariably seek to utilize the PII, or

      seek to re-sell it.   Thus, Whole Foods’s wrongful disclosure of Plaintiff and Class

      members’ PII placed them in an imminent, immediate, and continuing risk of harm for

      identity theft and identity fraud.

42.   Plaintiff and Class members have additionally been harmed as they have (1) been forced

      to take steps to protect against unauthorized disclosures of their PII, (2) incurred, intend

      to incur, and/or considered incurring the cost of obtaining replacement credit cards, and

      (3) overpaid for Whole Foods’s goods insofar as a portion of the purchase price was

      premised on Whole Foods’s implied promise to maintain the security and privacy of

      Plaintiff and Class Members’ PII.

43.   Plaintiff and Class members have been obligated to retain an attorney to prosecute this
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      case, and are entitled to an award of reasonable attorney’s fees and costs.

                                   CLASS ALLEGATIONS

44.   Plaintiff brings this action pursuant to 15 U.S.C. § 1681e(a), on behalf of a nationwide

      class of all similarly situated individuals (“Class”), defined as:

      All persons in the United States for whom Whole Foods stored private, personal
      information that was released as a result of the Whole Foods data breach
      disclosed in September 2017.

      Excluded from the Class are: (1) Defendant, Defendant’s agents, subsidiaries,
      parents, successors, predecessors, and any entity in which Defendant or its parents
      have a controlling interest, and those entities’ current and former employees,
      officers, and directors; (2) the Judge to whom this case is assigned and the
      Judge’s immediate family; (3) any person who executes and files a timely request
      for exclusion from the Class; (4) any persons who have had their claims in this
      matter finally adjudicated and/or otherwise released; and (5) the legal
      representatives, successors and assigns of any such excluded person.

45.   Plaintiff also brings this action pursuant to NRS 41.600 and NRS 598.0923(3) on behalf

      of a subclass of all similarly situated individuals in Nevada (“Subclass”), defined as:

      All persons in Nevada for whom Whole Foods stored private personal
      information that was released as a result of the Whole Foods data breach
      disclosed in September 2017.

      Excluded from the Subclass are: (1) Defendant, Defendant’s agents, subsidiaries,
      parents, successors, predecessors, and any entity in which Defendant or its parents
      have a controlling interest, and those entities’ current and former employees,
      officers, and directors; (2) the Judge to whom this case is assigned and the
      Judge’s immediate family; (3) any person who executes and files a timely request
      for exclusion from the Class; (4) any persons who have had their claims in this
      matter finally adjudicated and/or otherwise released; and (5) the legal
      representatives, successors and assigns of any such excluded person.

46.   At this time Plaintiff does not know the size of the Class because the information is

      exclusively in the possession of the Defendant, but Plaintiff believes that the potential

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      number of Class members is so numerous that joinder would be impracticable. It has

      been reported that the Class could consist of over 5 million people. The number of Class

      members can be determined through discovery, particularly investigation of Whole

      Foods’s internal records.

47.   All members of the Class have been subject to and affected by a uniform course of

      conduct in that all Class members' personal information was compromised during the

      data breach. These are questions of law and fact common to the proposed Class that

      predominate over any individual questions. The questions common to all Class and/or

      Subclass members include, but are not limited to:

             a.      Whether Whole Foods had implemented reasonable procedures to ensure
                     that all third parties who accessed Plaintiff’s and Class members’ private
                     credit information did so for a permissible purpose;

             b.      Whether Whole Foods engaged in consumer fraud in violation of NRS
                     598.0917(7) with respect to Plaintiff and Subclass members;

             b.      Whether Plaintiff and Class members suffered damages as a result of
                     Whole Foods’s failure to comply with FCRA and NRS 41.600 based on
                     the improper dissemination of their credit information as a result of the
                     data breach;

             c.      Whether Plaintiff and Class members are entitled to statutory damages;
                     and

             d.      Whether Plaintiff and Class members are entitled to punitive damages.

48.   Plaintiff’s claims are typical of the class, as Plaintiff’s PII was compromised during the

      data breach. All claims are based on the same legal and factual issues.

49.   Plaintiff will adequately represent the interests of the class and do not have an adverse

      interest to the class. If individual class members prosecuted separate actions it may
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      create a risk of inconsistent or varying judgments that would establish incompatible

      standards of conduct. A class action is the superior method for the quick and efficient

      adjudication of this controversy. Plaintiff’s counsel has experience litigation consumer

      class actions.

50.   Further, under Fed. R. Civ. Pro. 23(a), Defendant acted on grounds generally applicable

      to the proposed Class, making appropriate final declaratory and injunctive relief with

      respect to the proposed Class as a whole.

                  COUNT ONE: VIOLATION OF 15 U.S.C. § 1681, et al.
                              Plaintiff and the Class

51.   This Count is brought on behalf of the nationwide Class.

52.   Based upon Whole Foods’s failure to have reasonable procedures in place as required by

      15 U.S.C. § 1681e(a), Plaintiff’s PII was compromised.

53.   As a result of each and every willful violation of FCRA, Plaintiff and Class members are

      entitled to: actual damages, pursuant to 15 U.S.C. § 1681n(a)(1); statutory damages,

      pursuant to 15 U.S.C. § 1681n(a)(1); punitive damages, as this Court may allow, pursuant

      to 15 U.S.C. 1681n(a)(2); and reasonable attorneys’ fees and costs pursuant to 15 U.S.C.

      § 1681n(a)(3).

54.   As a result of each and every negligent non-compliance of the FCRA, Plaintiff and Class

      members are also entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2) from Defendant.




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                      COUNT TWO: DECLARATORY JUDGMENT
                              Plaintiff and the Class

55.   At all relevant times, there was in effect the Declaratory Judgment Act (“DJA”), 8 U.S.C.

      § 2201(a), which states, in relevant part:

             In a case of actual controversy within its jurisdiction . . . any court of the United
             States, upon the filing of an appropriate pleading, may declare the rights and other
             legal relations of any interested party seeking such declaration, whether or not
             further relief is or could be sought. Any such declaration shall have the force and
             effect of a final judgment or decree and shall be reviewable as such.
             28 U.S.C. § 2201(a).

56.   Plaintiff and Class members seek an order declaring that Whole Foods’s data security

      procedures failed to meet the PCI DSS standards, which led to the exposure of Plaintiff

      and Class Members’ PII in the data breach.

57.   The controversy presented in this case is definite and concrete, and affects the adverse

      legal interests of the parties. As a result of the data breach and the release of Plaintiff’s

      and Class members’ private personal information, Plaintiff and Class members are at a

      great risk of having that personal information used by unauthorized individuals.

58.   There is an actual controversy between the parties of sufficient immediacy and reality to

      warrant the issuance of a declaratory judgment because Whole Foods, on information and

      belief, is not in compliance with the PCI DSS standards which would have better

      safeguarded Plaintiff and Class members’ PII from unauthorized disclosure, both now

      and on an ongoing basis. Consequently, Plaintiff and Class members have been, and will

      continue to be, caused significant harm.



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59.   There are no disputed legal and factual issues that the Court would have to resolve in

      granting Plaintiff’s and Class members’ request for declaratory relief, as this issue does

      not affect the merits of Plaintiff’s and Class members’ claims against Defendant.

60.   Based on the foregoing facts, Plaintiff and Class members are entitled to a declaration

      that Whole Foods’s conduct in permitting the data breach failed to meet the PCI DSS

      standards.

                       COUNT THREE: VIOLATION OF NRS 41.600
                           Plaintiff and the Nevada Subclass

61.   This Count is brought on behalf of the Nevada Subclass.

62.   Whole Foods engaged in unfair and unlawful acts and practices by failing to maintain

      adequate procedures to avoid a data breach, and permitting access to consumer reports by

      data thieves, for whom Whole Foods had no reasonable grounds to believe would be used

      for a proper purpose. Plaintiff and Subclass members relied on Whole Foods’s implied

      promise of data security when providing their PII to Whole Foods to purchase Whole

      Foods’s goods.

63.   Whole Foods’s conduct violated NRS 598.0917(7) because it constituted a tender of

      “goods advertised for sale . . . or tendering terms of sale or lease less favorable than the

      terms advertised,” i.e., goods offered for sale by credit card without the corresponding

      promise that a consumer’s PII would be kept reasonably safe from harm. Whole Foods’s

      violations of NRS 598.0917(7) constituted “consumer fraud” for purposes of NRS

      41.600(2)(e).


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64.   Additionally, Whole Foods’s violation of 15 U.S.C. § 1681e(a) also “relat[ed] to the sale

      . . . of goods or services,” and thus violated NRS 598.0923(3). Whole Foods’s violations

      of NRS 598.0923(3) constituted “consumer fraud” for purposes of NRS 41.600(2)(e).

65.   Defendants engaged in an unfair practice by engaging in conduct that is contrary to

      public policy, unscrupulous, and caused injury to Plaintiff and Subclass members.

66.   As a direct and proximate result of the foregoing, Plaintiff and Subclass members have

      suffered injuries including, but not limited to actual damages, and in being denied a

      benefit conferred on them by the Nevada legislature.

67.   As a result of these violations, Plaintiff and Subclass members are entitled to an award of

      actual damages, equitable injunctive and declaratory relief, as well as an award of

      reasonable attorney’s fees.

                                COUNT FOUR: Negligence
                             Plaintiff and the Nevada Subclass

68.   This Count is brought on behalf of the Nevada Subclass.

69.   Whole Foods negligently breached its duty of care to its business invitees by failing to

      uncover and remedy the known risks which led to the data breach, thereby leading to the

      dissemination of Plaintiff and Subclass members’ PII.

70.   Additionally, Whole Foods failed to inform Plaintiff and Subclass members of this

      heightened risk of harm.




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71.    Plaintiff and Subclass members suffered damages as a result of Whole Foods’s breach of

       its duty of care, and are entitled to an award of actual and punitive damages, as well as an

       award of reasonable attorney’s fees.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully requests

the following relief against Whole Foods:

       A. For an award of actual damages against Whole Foods for all allegations contained in
          Count One, Count Three, and Count Four;

       B. For an award of statutory damages pursuant to 15 U.S.C. §1681n(a)(1) against Whole
          Foods for the allegations contained in Count One for each eligible Class member and
          the Plaintiff;

       C. For an award of punitive damages against Whole Foods as the Court may allow for
          the allegations contained in Count One pursuant to 15 U.S.C. 1681n(a)(2), and in
          Count Four under Nevada common law;

       D. For an award of the costs of litigation and reasonable attorneys' fees pursuant to 15
          U.S.C. §1681n(a)(3) and 15 U.S.C. §1681o(a)(2) against Defendant for each incident
          of noncompliance of FCRA alleged in Count One, under NRS 41.600(c) as alleged in
          Count Three, and under Nevada common law as alleged in Count Four;

       E. For an order declaring that Whole Foods’s conduct failed to adhere to the PCI DSS
          standards, as alleged in Count Two;

       F. For a preliminary and permanent injunction prohibiting Whole Foods from continuing
          to violate the PCI DSS standards as alleged in Count Three; and

       G. For all other relief this Court may deem just and proper.

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                                        JURY DEMAND

      Plaintiff hereby requests a trial by jury on all issues so triable.

Dated: September 28, 2017
                                              Respectfully Submitted,

                                              /s/ David H. Krieger
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